                 IN THE UNITED STATES DISTRICT COURT FOR
                    THE EASTERN DISTRICT OF TENNESSEE
                          GREENEVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )      No. 2:13-CR-053
                                                )
CAMERON SHAUN POWERS                            )

                           MEMORANDUM AND ORDER

             On September 10, 2013, the defendant pled guilty to conspiring to manufacture

methamphetamine (Count One) and endangering human life while illegally manufacturing

or attempting to manufacture methamphetamine (Count Six). He is subject to maximum

sentence of 20 years on Count One and 10 years on Count Six. The parties’ plea agreement

recommends a total term of imprisonment of 30 months pursuant to Rule 11(c)(1)(C) of the

Federal Rules of Civil Procedure.

             The defendant was brought before this court on a writ of habeas corpus ad

prosequendum, and he remained in custody following the entry of his guilty plea. On August

29, 2013, his pending state charges were dismissed. In light of that development, the

defendant has now moved for release on an unsecured bond [doc. 57]. That motion was

referred to Chief United States Magistrate Judge Dennis H. Inman for a report and

recommendation (“R&R”).

             On October 7, 2013, Judge Inman issued an R&R [doc. 60] recommending that

the bond motion be denied. Now before the court is the defendant’s brief objection to the

R&R [doc. 61].


Case 2:13-cr-00053-RLJ       Document 62     Filed 10/15/13    Page 1 of 3    PageID #:
                                           134
              De novo review by the district court of a magistrate judge’s report and

recommendation is both statutorily and constitutionally required. See United States v. Shami,

754 F.2d 670, 672 (6th Cir. 1985). However, it is necessary only to review “those portions

of the report or specified proposed findings or recommendations to which objection is made.”

28 U.S.C. § 636(b)(1).

              As Judge Inman correctly noted, because the defendant has been found guilty

of an offense for which a maximum term of imprisonment of ten years or more is prescribed

by the Controlled Substances Act, see 18 U.S.C. § 3142(f)(1)(C), for him to be released on

bond the court must make a finding as to both of the following:

       1. There is a substantial likelihood that a motion for acquittal or new trial will
       be granted, 18 U.S.C. § 3143(a)(2)(A)(i), or the government has recommended
       that no sentence of imprisonment be imposed, 18 U.S.C. § 3143(a)(2)(A)(ii)

       AND

       2. There is clear and convincing evidence that the defendant is not likely to
       flee or pose a danger to any other person or the community. 18 U.S.C. §
       3143(a)(2)(B).

As Judge Inman further correctly observed, on the facts of the present case section

3143(a)(2)(A) cannot be satisfied as there is presently no likelihood of a successful motion

for acquittal or new trial, and the government has not recommended that no term of

imprisonment be imposed. The defendant is therefore subject to mandatory detention. See

18 U.S.C. § 3143(a)(2).




                                               2


Case 2:13-cr-00053-RLJ         Document 62     Filed 10/15/13       Page 2 of 3     PageID #:
                                             135
              However, despite section 3143’s seemingly clear mandate, there exists

authority that a district court can override mandatory detention by way of 18 U.S.C. §

3145(c) if a defendant clearly shows that there are exceptional reasons why his detention

would not be appropriate. See United States v. Christman, 596 F.3d 870 (6th Cir. 2010).

“Exceptional reasons” under section 3145(c) is a very high bar. See, e.g., United States v.

Cook, 42 F. App’x 803, 804 (6th Cir. 2002) (cooperation with government, and economic

hardship, and hardship to family did not combine to make “exceptional reasons”).

              In the present case, the defendant has not clearly shown exceptional reasons

why his continued detention is not appropriate. His motion and his objection collectively

offer only that his state charges have been dismissed. That is not nearly enough. See Cook,

42 F. App’x at 804. As stated by Judge Inman, a hearing on this issue “would be a waste of

time.”

              For these reasons, the court ADOPTS the findings of fact and conclusions of

law contained in the R&R [doc. 60]. The defendant’s motion for bond [doc. 57] is DENIED,

and his objection [doc. 61] is OVERRULED.

              IT IS SO ORDERED.

                                                        ENTER:



                                                                s/ Leon Jordan
                                                           United States District Judge



                                            3


Case 2:13-cr-00053-RLJ       Document 62     Filed 10/15/13     Page 3 of 3    PageID #:
                                           136
